Case 1:19-cv-00698-ELH Document 180 Filed 10/13/22 Page1of1

Karen Warren
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From: Kobie Flowers <KFlowers@browngold.com>

Sent: Thursday, October 13, 2022 8:35 AM

To: MDD_ELHChambers

Cc: Shneur Nathan; akamionski_nklawllp.com; Kyle Ashe; Mayer Engelsberg; Judson Arnold;
Natalie Amato; Lynch, Kara; Neel Lalchandani; Andrew D. Freeman

Subject: Johnson v. BPD, et al., 19 CV 698 - Redactions

CAUTION - EXTERNAL:

Dear Your Honor:

In accordance with the Court’s Order (ECF No. 179), the Parties conferred and have no redactions to the Court’s Opinion
(ECF No. 177).

Respectfully submitted,

Kobie Flowers

 

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